

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS





NO. WR-34,608-09






CHARLES LARRY HUNNICUTT, Relator


v.


DALLAS COUNTY DISTRICT CLERK, Respondent






ON APPLICATION FOR A WRIT OF MANDAMUS

CAUSE NO. F-0961783-T IN THE 283RD DISTRICT COURT

FROM DALLAS COUNTY





	Per curiam.


O R D E R




	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court. In it, he contends that he filed an application for a writ of habeas corpus
in the 283rd District Court of Dallas County, that more than 35 days have elapsed, and that the
application has not yet been forwarded to this Court.  

	 In these circumstances, additional facts are needed. Respondent, the District Clerk of  Dallas
County, is ordered to file a response, which may be made by: submitting the record on such habeas
corpus application; submitting a copy of a timely filed order that designates issues to be investigated,
see McCree v. Hampton, 824 S.W.2d 578 (Tex. Crim. App. 1992); or stating that Relator has not
filed an application for a writ of habeas corpus in Dallas County. Should the response include an
order designating issues, proof of the date the district attorney's office was served with the habeas
application shall also be submitted with the response. This application for leave to file a writ of
mandamus shall be held in abeyance until Respondent has submitted the appropriate response. Such
response shall be submitted within 30 days of the date of this order.



Filed: November 16, 2011

Do not publish	


